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 8                         UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA

10     TIFFANY TYLER, Individually, And ) Case No.: CV 16-3980-DMG (AFMx)
11     On Behalf Of All Others Similarly )
       Situated,                         ) ORDER RE DISMISSAL OF
12
                                         ) ACTION [29]
13                       Plaintiff,      )
14
       v.                                )
                                         )
15     FINANCIAL RECOVERY                )
16     SERVICES, INC.; LVNV FUNDING )
       LLC; Does 1-10 inclusive,         )
17
                                         )
18                       Defendant.      )
                                         )
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             IT IS HEREBY ORDERED that pursuant to the parties’ Stipulation to
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       dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
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       41(a)(1)(A)(ii), the entire case is dismissed with prejudice as to the named
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       Plaintiffs, and without prejudice as to the putative class. Each party shall bear its
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       own costs and expenses.
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26     DATED: November 7, 2016                 _______________________________
27                                                      DOLLY M. GEE
                                               UNITED STATES DISTRICT JUDGE
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